 Case 7:18-cv-00395-MFU Document 18 Filed 08/28/19 Page 1 of 1 Pageid#: 66




                   IN TH E UN ITED STATES DISTRICT COURT
                   FO R TH E W E STE RN D IST RICT O F W RGIN IA
                               R OAN O U D IVISIO N

AM AN D A N .H ARTLE SS,
                                              Case N o.:7:18-CV-395
      Plaintiffy


JON ATHAN D .ROBERTS,
and
                                              By:    M ichaelF.U rbansld
W ELLS FARGO BAN N                            ChiefUnited StatesDistrictJudge
N ATION M ASSO CIATIO N ,

      D efendants.

                                      O RD E R

      The courthasbeen notified thatthepartieshave agreed to disnlissthisaction with

pzejudice,pursuanttoRule41(a)(1)@ .Accordingly,itisOR-
                                                     DERED thatthismatterinits
entitetyisherebyDISM ISSED with prejudice.
      Itisso O RD E RED .


                                       Enteted:o,R- V -zl ty
                                4/         4        2 .          V -'Z-'

                                         ichae . rbanski
                                     Z ChiefUnited StatesDistrictludge
